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                                        U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     April 26, 2018

BY ECF AND HAND
The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Cohen v. United States, 18 Mag. 3161 (KMW)

Dear Judge Wood:

        At the conference scheduled for today at noon, the Government will provide a detailed
update on the status of its production to Michael Cohen’s counsel of a set of the materials seized
during the April 9, 2018 searches of Cohen’s premises and electronic devices. As a general
matter, the Government expects to report that its production is on schedule, as described in its
April 18, 2018 letter to the Court.

       The Government also writes, in advance of the conference, to apprise Your Honor that
we are prepared to withdraw our objection to the appointment of a Special Master to conduct the
review of the potentially privileged materials seized during the April 9 searches, and to propose a
compromise position with respect to the privilege review that, we believe, will most efficiently
complete the review while honoring the concerns expressed by counsel for Cohen and the
intervenors.

        Specifically, as set forth in more detail below, we propose that the Special Master directly
review the seized materials to determine which appear to be privileged and then hear from both
sides before making a final determination. We previously provided the Court with the names of
three retired Magistrate Judges for consideration for appointment by the Court as a Special
Master in this matter, and have subsequently spoken to some of the candidates we proposed. In
that regard, we attach as Exhibit A a letter from retired Magistrate Judge Frank Maas describing
his proposed process. The Government supports the process recommended in Judge Maas’s
attached letter, namely, use of a technology-assisted review (“TAR”) process to identify
potentially privileged material for review in an efficient manner, with an opportunity for Cohen
and the intervenors to be heard and to supplement the documents they claim as privileged. Judge
Maas recommends this method based on his experience as providing a “timely and cost-
effective” way to accomplish the review. He also notes that TAR is “at least as effective as
exhaustive manual review, and far more efficient.”
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       As Judge Maas explains, he would likely engage Maura R. Grossman, a New York
lawyer and a research professor in the School of Computer Science at the University of
Waterloo, who is renowned in the field of e-discovery and a TAR expert, to assist with the
review. In particular, Judge Maas proposes that:

              Each party would have an opportunity to make submissions to Judge Maas
               including any information necessary to help him identify any privileged or non-
               privileged material.1

              Based on that information, and using a technology-assisted review process, Judge
               Maas and Ms. Grossman would make an initial selection of potentially privileged
               documents in short order. Judge Maas estimates that barring complications, he
               would conduct his review on a rolling basis, as documents become available, and
               that the process of identifying potentially privileged documents could be
               concluded within two weeks through the TAR process. Although not specified in
               Judge Maas’s letter, the Court could also afford Cohen and the intervenors a
               certain time period in which to designate any additional privileged documents not
               originally identified by Judge Maas and Ms. Grossman.

              Judge Maas also describes his expected process with respect to each potential
               category of non-electronic materials, including recorded telephone calls, cell
               phones, and hard copy documents. The former two would be formatted to be
               reviewed using TAR, and the hard copy documents (most of which have already
               been scanned) could either be reviewed manually or using TAR. Judge Maas
               would reach his final privilege determination after considering arguments.

        If the Court does not select Judge Maas as Special Master, the Government believes that
the above-referenced process can be implemented by any of the other retired Magistrate Judges
that the Government has proposed to the Court, and that such a process generally provides for
the most efficient, expeditious, and neutral review.

        We believe that using Judge Maas or another neutral retired former Magistrate Judge
familiar with this electronic discovery process and with experience in ruling on issues of
privilege will lead to an expeditious and fair review of the materials obtained through the
judicially-authorized search warrants. Cohen and the intervenors will have the opportunity to
have their claims of privilege considered by a neutral Magistrate before any document as to
which they assert privilege is turned over to the Government’s Investigative Team, while the
non-privileged documents as to which there is no issue will be quickly identified and made
available to the Government’s Investigative Team for use in the ongoing investigation. Thus,
this reasonable compromise procedure will fully honor the attorney-client privilege while

1
  For example, Cohen’s counsel could provide a list of clients and attorneys and (on an ex parte
basis) some background and context regarding the nature of the attorney-client relationships. The
Government could provide (similarly on an ex parte basis) the search warrant affidavit and some
background on the Government’s investigation and/or theory of the case, as would be necessary
for Judge Maas to make any determinations regarding application of the crime-fraud exception.
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ensuring the efficient completion of the privilege review in a manner that recognizes the
important law enforcement interests at stake. See United States v. Grant, 2004 WL 1171258, at
*2 (S.D.N.Y. May 25, 2004) (discussing balance between “public’s strong interest in
investigation and prosecution of criminal conduct” and limited incursion into attorney-client
privilege).

        In particular:

              The Government’s proposed procedure will be more efficient than the proposal
               offered by Cohen’s counsel, and likely result in an initial batch of potentially
               privileged documents to be available for a Special Master to review within two
               weeks.

              The Government’s proposed procedure renders the creation of a privilege log – a
               cumbersome task that caused substantial delay in the Stewart case – unnecessary.
               While Cohen’s proposal relies on a privilege log as the main tool for the review,
               Judge Maas observes such logs are “virtually useless.”

              Placing the initial identification of potentially privileged materials in the hands of
               a neutral party guards against the concern that an interested party making the first
               selection would be overbroad or underinclusive in their selection of the universe
               of potentially privileged materials. That, in turn, would cut down on disputes
               between the parties as to privilege determinations.

              Permitting the Government Filter Team to see the potentially privileged
               documents identified by the Special Master will obviate the need to review
               documents as to which the Government does not dispute privilege, and – as to any
               subset of materials as to which there is disagreement – will enable the Special
               Master to receive timely and fully informed input both from Cohen and/or the
               intervenors and the Government’s Filter Team. This will make the dispute
               resolution process even more efficient and expeditious.

        The alternative procedure proposed by Cohen’s counsel is unworkable. Under Cohen’s
procedure, neither the Government nor the Special Master will have access to the seized
materials in order to properly evaluate privilege. Instead, Cohen’s counsel will make the initial
review of the seized materials and will provide the Special Master and the Government with
nothing more than a privilege log. (4/25/18 Letter at 3). That is essentially the same
extraordinarily relief that Cohen asked for in the first instance, and which the Court appeared to
reject. And that is the very process that bogged down the Stewart case for more than a year,
even though the volume of materials seized in that case was likely substantially smaller than in
this case. See United States v. Sattar, No. 02 Cr. 395 (JGK), 2003 WL 22137012, at *22
(S.D.N.Y. Sept. 15, 2003). What is more, Cohen’s proposal contemplates that the Government
Filter Team will only be able to review the privilege log, not the actual documents themselves,
and that the Special Master would only be called on to review any documents if the Government
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objects to Cohen’s designations.2 (4/25/18 Letter at 3). Under such a proposal, the Government
will be deprived of the ability to make fully informed objections to Cohen’s designations, and
Cohen will have effectively turned the Government’s search warrant into a subpoena, severely
curtailing the role of the Government and a Special Master while maximizing the role played by
his own attorneys. See Grant, 2004 WL 1171258, at *2. The Government would then have to
seriously consider objecting to most documents designated by Cohen as privileged, because
otherwise the Special Master would never be called on to make an independent review of the
documents. That, coupled with Cohen’s clear incentive to be overbroad in his initial
designations,3 will result in the Special Master needing to review and adjudicate a far broader set
of disputes than if the Special Master were to make the initial selection of potentially privileged
materials.4




2
  If Cohen’s request for a privilege log were to be granted, there is no reason the Government’s
Investigative Team could not review the privilege log.
3
  As the Court is aware, after originally stating that the Government seized “thousands, if not
millions,” of pages of privileged documents, Cohen subsequently identified three current clients.
Of those three clients, one, Sean Hannity, has since said that “Michael Cohen has never represented
me in any matter. I never retained him, received an invoice, or paid legal fees.” Another, President
Trump, reportedly said on cable television this morning that Cohen performs “a tiny, tiny little
fraction” of his overall legal work. These statements by two of Cohen’s three identified clients
suggest that the seized materials are unlikely to contain voluminous privileged documents, further
supporting the importance of efficiency here.
4
  If the Court does permit Cohen and the intervenors to make privilege determinations in the first
instance, Cohen should still be required to provide the Filter Team and the Special Master with the
actual documents, and not a privilege log, to effectuate a more efficient and neutral assessment of
privilege issues.
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        For these reasons, the Court should endorse this proposed compromise position. If the
Court does so at today’s conference, the Government can begin producing materials to the
Special Master on the same timeline it is producing materials to Cohen’s counsel, such that the
Special Master could begin the initial selection of potentially privileged materials on a rolling
basis starting immediately.

                                                 Respectfully submitted,

                                                 ROBERT KHUZAMI
                                                 Attorney for the United States,
                                                 Acting Under Authority Conferred by
                                                 28 U.S.C. § 515



                                              By: _________________________
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cc: Todd Harrison, Esq. (by ECF)
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